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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

IN RE:       Vernon Robert Ancrum                     CASE NO.: 21-11568-amc
                           Debtor
                                                      CHAPTER 13
             Fay Servicing, LLC as servicer for
             LSF9 Master Participation Trust          JUDGE: Ashely M. Chan
                          Movant
             v.

             Vernon Robert Ancrum

             Scott F. Waterman - Trustee
                            Respondents
        XXXXXXXX ORDER GRANTING RELIEF FROM THE                                        STAY

          UPON consideration of the Certification of Default filed by Fay Servicing, LLC as
servicer for LSF9 Master Participation Trust dated           , 2023 and with good cause therefore, it
is
         ORDERED




                              ;
         ORDERED that in the event this case is converted to a case under any other chapter of
the U.S. Bankruptcy Code, this Order will remain in full force and effect; and it is further;
         ORDERED that the Movant shall promptly report to the Chapter 13 Trustee any surplus
monies realized by any sale of the Property.




     Dated: August 8, 2023                        __________________________________
                                                                                U.S.B.J
